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12   JONATHAN GOMEZ, and the Proposed Class(es)
13                         UNITED STATES DISTRICT COURT
14                      SOUTHERN DISTRICT OF CALIFORNIA
15 SLYVESTER OWINO and JONATHAN               )   Case No. 3:17-CV-01112-JLS-NLS
   GOMEZ,    on behalf of themselves and all
16 others similarly situated,
                                              )
                                              )
17                              Plaintiffs,   )   CLASS ACTION
                                              )
18
                vs.                           )
                                              )   PLAINTIFFS’ NOTICE OF MOTION
19
     CORECIVIC, INC.,                         )   AND MOTION FOR LEAVE TO FILE
                                              )   FIRST AMENDED COMPLAINT
20
                                  Defendant. )
                                              )
21
                                              )
     CORECIVIC, INC.,                         )   Date: October 18, 2018
22                         Counter-Claimant, ))   Time: 1:30 p.m.
                                                  Place: Courtroom 4D
23                                            )
                                              )   Judge: Hon. Janis L. Sammartino
24                vs.                         )   Magistrate: Hon. Nita L. Stormes
                                              )
25   SLYVESTER OWINO and JONATHAN )               DEMAND FOR JURY TRIAL
     GOMEZ, on behalf of themselves and all )
26   others similarly situated,               )
                         Counter-Defendants. ))
27
                                              )
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                                                           Case No. 17-CV-01112-JLS-NLS
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 1                         NOTICE OF MOTION AND MOTION
 2   TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
 3         PLEASE TAKE NOTICE that, pursuant to the Court’s Scheduling Order (Dkt. 57)
 4   and Federal Rule of Civil Procedure 15(a)(2), on October 18, 2018, at 1:30 p.m., or as
 5   soon thereafter as the matter may be heard in Courtroom 4D of the above-entitled Court,
 6 Plaintiffs Slyvester Owino and Jonathan Gomez (“Plaintiffs”) will and hereby do move

 7 the Court for Leave to File a First Amended Complaint (“FAC”) for the purpose of

 8 adding a claim for violations of the Private Attorney General Act (“PAGA”), Cal. Labor

 9 Code §§ 2698, et seq. The Motion is made on the grounds that Plaintiffs’ proposed

10   amendment is timely under the Court’s Scheduling Order and will not result in undue
11 delay, change the nature of the proceedings, have any impact on the scheduling of this

12 matter, or prejudice Defendant.

13         The Motion is based on this Notice of Motion and Motion, the accompanying
14 Memorandum of Points and Authorities, the Declaration of Eileen R. Ridley, the

15 pleadings and papers on file herein, and on such other matters as may be presented to the

16 Court at the time of the hearing on this Motion.

17
     DATED: September 11, 2018             FOLEY & LARDNER LLP
18                                         J. Mark Waxman
19                                         Eileen R. Ridley
                                           Geoffrey Raux
20                                         Nicholas J. Fox
                                           Alan R. Ouellette
21

22

23                                         /s/ Eileen R. Ridley
                                           Eileen R. Ridley
24                                         Attorneys for Plaintiffs SLYVESTER OWINO,
                                           JONATHAN GOMEZ, and the Proposed
25                                         Class(es)
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                                            -1-           Case No. 17-CV-01112-JLS-NLS
     Case 3:17-cv-01112-JLS-NLS Document 64 Filed 09/11/18 PageID.633 Page 3 of 4



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 3                                       Attorneys for Plaintiffs SLYVESTER OWINO,
                                         JONATHAN GOMEZ, and the Proposed
 4                                       Class(es)
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 1                             CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above and
 3   foregoing document has been served on September 11, 2018 to all counsel of record who
 4   are deemed to have consented to electronic service via the Court’s CM/ECF system per
 5   Civil Local Rule 5.4.
 6
                                          /s/ Eileen R. Ridley
 7
                                          Eileen R. Ridley
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